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  1 Lindy F. Bradley, Esq., State Bar No. 207533
     lbradley@bgwlawyers.com
  2 BRADLEY, GMELICH & WELLERSTEIN              LLP
    700 North Brand Boulevard, 10th Floor
  3 Glendale, California 91203-1202
    Telephone: (818) 243-5200
  4 Facsimile: (818) 243-5266
  5 Attorneys for Defendant, SF MARKETS, LLC
    (erroneously sued as Sprouts Farmers Market,
  6 LLC)
  7
  8
                          UNITED STATES DISTRICT COURT
  9
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11
      LINDEN WOLBERT,                          Case No.
12
                 Plaintiff,                    Los Angeles Superior Court Case No.:
13                                             20STCV26481
          vs.
14                                             NOTICE OF REMOVAL
   SPROUTS FARMERS MARKET,
15 LLC, RETAIL OPPORTUNITY                     Discovery Cutoff: March 10, 2022
   INVESTMENTS CORP., INC., DOES               Motion Cutoff:    None Set
16 1-30,                                       Trial Date:       None Set
17               Defendants.
18
19        TO THE CLERK OF THE ABOVE-ENTITLED COURT:
20        PLEASE TAKE NOTICE THAT Defendant, SF MARKETS, LLC hereby
21 removes to this Court the state court action described below. Removal of this action
22 is proper for the following reasons:
23 I.     TIMELINESS
24        1.     Plaintiff commenced his action on or about March 10, 2022, by filing
25 a Complaint for damages. A true and correct copy of the Complaint is attached
26 hereto as Exhibit A
27        2.     Defendant, SF MARKETS, LLC is named as a defendant; it has been
28 served with the Complaint.

                                     NOTICE OF REMOVAL
Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 2 of 10 Page ID #:2




  1        3.      This notice of removal is timely in that it is filed on or before twenty-
  2 one (21) days after service of the Complaint, and the Complaint contains notice that
  3 the case is removable within the meaning of 28 USC §§ 1441(b) and 1446.
  4
  5 II.    BASIS FOR REMOVAL
  6        4.     This is a civil action over which this Court has original jurisdiction
  7 under Title 28 U.S.C. § 1332(a)(1), and is one which may be removed to this Court
  8 by Defendant, SF Markets, LLC pursuant to the provisions of Title 28 U.S.C. §
  9 1441(b) in that the action is between citizens of different States.
10         5.     Plaintiff’s Complaint alleges that the incident occurred in the State of
11 California. Plaintiff also resides in California. Defendant, SF Markets, LLC is a
12 limited liability company registered in Delaware, with a principal place of business
13 in Arizona, where its high-level officers direct, control, and coordinate the
14 company’s activities. Defendant, SF Markets, LLC, is wholly owned by Sprouts
15 Farmers Markets, Inc., registered in Delaware, with a principal place of business in
16 Arizona, where the corporation's high-level officers direct, control, and coordinate
17 the corporation's activities.
18         6.     Plaintiff has alleged damages, including pain and suffering, wage loss,
19 hospital and medical expenses, general damages, compensatory damages, property
20 damage, loss of earning capacity, interest at the legal rate, and attorney’s fees and
21 costs. Pursuant to Plaintiff’s Counsel, Plaintiff is alleging damages of no less than
22 $75,000.
23 / / /
24 / / /
25 / / /
26 / / /
27 / / /
28 / / /

                                                2
                                       NOTICE OF REMOVAL
Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 3 of 10 Page ID #:3




  1
      III.   VENUE
  2
             7.    The Los Angeles County Superior Court is located within the
  3
      jurisdiction of the United State District Court, Central District of California. See
  4
      Title 28 U.S.C. § 84(c)(2). This venue is proper, pursuant to Title 28 U.S.C. § 1391.
  5
      This Notice of Removal is therefore properly filed in this Court, pursuant to Title 28
  6
      U.S.C. § 1441.
  7
  8
      IV.    PLEADINGS AND PROCESS
  9
             8.    Other than Exhibits A, there are no other pleadings on file in the State
10
      Court action. This Notice of Removal is being filed without prejudice to
11
      Defendant’s objections and defenses.
12
             9.    Counsel for Defendant certifies that it will file a true and correct copy
13
      of this Notice of Removal with the Clerk of the Superior Court of California,
14
      County of Los Angeles, as required by Title 28 U.S.C. § 1446, and give notice of
15
      same to Plaintiff.
16
             WHEREFORE, Defendant, SF Markets, LLC hereby removes the action now
17
      pending against it in the Superior Court of the State of California for the County of
18
      Los Angeles, to this Honorable Court, and requests that this Court retain jurisdiction
19
      for all further proceedings.
20
      Dated: June 14, 2022                 BRADLEY, GMELICH & WELLERSTEIN LLP
21
22
                                           By:         /s/ Lindy F. Bradley
23
                                                     Lindy F. Bradley
24                                               Attorneys for Defendant, SF MARKETS,
25                                               LLC (erroneously sued as Sprouts Farmers
                                                 Market, LLC)
26
27
28

                                                 3
                                        NOTICE OF REMOVAL
Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 4 of 10 Page ID #:4




                   Exhibit A
i                                                                                                   -- -
                    Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 5 of 10 Page ID #:5
~
  l=lectronically FILED by. Superidr Court of.Califomia, Coimty ofiLos Angeles ori 03/10/20     A~CCC`~~~(... ye,~
                                                                                                7                  rri R. Carter, Executive Officp( /Clerk of CodrX; l3yR. Cliftori;Deputy Clerk ••
                         ..                                                      •'        ~~~I.rVV~~~~                         ••                    .. ..                . ..       ..
L .,
                                             Assigned for ail purposes to: Spring Street Courthouse, Jiidicial Officer:.Jill Feeney '
                                                                                                                                                                      "              PLD-P1-009
                    A'rfORNEYARPARTXWITi10EJTATTORNEY tNam S!alg 8arnambsr, pndatldress}:                                                                    FOR COl/R7 W GNLY
                          Spencer Gnerena (SB1aT 253344@}                                                   "
                          Lavv Office of Spencer ©uerena
                          31'11 Camino Del Rio North Suite 4U0                                                      "•
                          Sa.n Diega, CA•92a18                                                         "
                                 TELEPHONE p105 (619) .5Z8- 22i 4                      FAx ND. (OptiOnaq:
                     E-,wAa,MREss(opd0naff. spencer@,gaerenalaW:corn
                          ATTORNEY FOR (IUame}.. LlndeIll rr•ouJel't                                        '
                    SUPERIOR COURT OF CAUFORNIA, COUNT1t OF LoS AngeleS.
                                s,RErADpRF.ss: I1.I North HiII Street
                               MAIllNG•ADDRESS: 'l l 1 iVorth HiII-Street
                               CrnrAt►oZPCoos: 'Los,Angeles 90012
                                   sRnHcxNAreE; Stanley NtoslC Courtl':iouse•
                                   PLAINTIFFs L1ndCT1 Wo1bert


                                 DEFENDANT:.      SprQuts Farmers 1vlarket, Ut, "et_. aI:

                    Q DOFs•i-ro- 30
                     COMP•LAINT—Pe.rsonal :injury„ Rroperty bairtage, Wrongful Deafih
                           Q AlIAEI;iDED (Nurnber):
                     Type (check all that app/y);
                    =      MOTOR VENICLE            0~ OTFiER (specify); Prdmises
                           Q     Properrty Damage [Q Wrongful Death
                           Q     Personal injury ..      [Q bther Damages tspeFify):
                     Jurisdiction (check a8 tftaf appiy):                                                          CA8E NUMBER:
                    Q      ACTiON iSA LI'MITED CML CA$E .                                                         •2'28T        ,~-Dv O-e !sa b
                            Amount demanded . Q does not exceed $90,0U0
                                                    Q exceeds-$I0,000, butdoes notexceed$Z5,00a
                     aj ACTION. IS AN.iJNI_iMPfED C1YIL CASE (exceeds $25,000)
                    Q ACT(ON 10 RECLASSIFIED-by this amended complaint
                           Q     from limited to unlimited
                           Q from uniimited to limited
                    S. Plai>ttiff.(nameornames): Linden Wolbert
                       alle,ges causes of action agains₹ defendant (nairre or .names):
                       Sprouts Faz7mers Market,.LLC, Retail Qpportunity Investmeri₹s Cozp., Inc., D'oes `7.•-30
                    2. This •pleading, incfuding attachmentsand exhibits, consists o'f fhe fbilowing number of pages:. 5
                    3. E'ach plaintifP narned above is a competent adult                                                                                                                              "
                          a,          except plaintiff (name):                                                                                           '
                     ..                                                                                                                                ..,                  '•                        ..
                                       1 Q a corporatkin quafifled ti7 do business tn Catifamia
                                     .()                                                                                         .
                                     (2) Q        an iinincorporafed enfity (desctibs):
                                     (3) Q        a pubfic e" (describe):                                               .
                                                  a.minor Q an aduit
                                                  (a) =Jorwhom a guafdian:orconservatorofthe estate or a-guardian ad litem has been•appointetf
                                                  (b) Qj, ather (specify):                                                                                                                "
                                                  other (specity),•                                                                                              ^
                          -b, QJ exceptplaintiff'(name):'
                                 (4)      a vorporation quaiified to do'business in California                                        "
                                     •(2)          an uninoorporat®d. enfity (dascribe):
                                      (3) Q        a pubfic entity (describe):
                                      (4) [Q a •minor Q                an adiait                                                                                                 „
                                                   (a) Q        ior whom a guardian or conseivatar of the.estate or a guardiari ad litem has been appolnted
                                               (b)              other (specily):
                                      .(5)' [Q other (specif.y,):

                        ~     fnformation -abbut additidnal p7aintiffswho are not c,orhpefent.adufts is shduvn in Attachment 3. ..                                                            "Paae l.oFa
                      FormA~arwsdfarovtlonatu5a                     COMPl.A1R1T—P®rsor~ai lnjury, Property                                                                ~ecrc~aP~aw% §nzs,2
                        Jd~etalcocmc~~ercalirortua                                                                                                                                   wwxroowmtacasov
                                                                           "               Damag 0, WrrongfQl DEatlt                           ..
                     Pt.o•P,•aoa Rev. Jamm~y y, zoo7t



                                                                                                                                                                                          Exhibit A
                                                                                                                                                                                           Page 4
         Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 6 of 10 Page ID #:6



                                                                                                                         "              PLD•PI=001
         SHQRT TITtiEt                                                                                       cnse twrae~:
          Wolbertv. Sprouts Farriiers Market "

        4,. Q        Plairitiff{name):
                     is'doing business under tfie fictitidus naine (specify,L•

                  and.'has complied wlth the fictitious business riame laws.     "
        5. Each clefendant named abave is •a natural person
           a. .r 17 except defendant (name): • S.prouts Far.mers Mark c,. Q✓ except defendant (nanie): •Does '1-i Q
                     (1) Q a business organization,, form unknown               (3) Q   a business orgariization, fornt unkriown•
                     (2) Q✓ a corporation                                "     •(2) Q a corporation .,                            " ..
                     P) Q     an unincorporated     enjity (describe):       "  (3). Q'an  unincorporated  entity'(descdbe  ):

                        (4) Q       a publtc~entdy (describe):                               (4) Q    a'public entiiy {descrfba):

                        (5) Q       other (specify):                                         (5) Q     other (speciry}:




               b. M. except defendznt (name): Reta.il Oppoituni.ty Inu d.•                   exeepfi defendant •(na'rne):
                     ('() Q• a business organization, form unknown                           {1j Q     a business organizatiori, form• unknown
                     (2) Q:a•corpor.afion                                                    (2)       a corporation
                     (3) Q. an unincorporated entrty •(describe):                            .(3) Q ari unincorporrated entity (describe):

                         i4? Q~ a public entity {describe):                                  (4) Q'a public enfity (describe):

                         (5) Q      pfher (specify):                                         (5) Q     'otiier (specffy):


               Q     inforrriatiori a.bolat additional defendants who are npt natural persoris is contained in attaehfnent 5.               "

         G.      The true names of defendants sukd as Does'are unknown fo plaihtifF..
                 a: Q.Doe•defendants fspecityDoe,numbers1; i1-20                                        weretheagentsor•empTogeesofother
                           named defendants and acted       within the scape a# that agenay or em}iloyment.         _
                 b. Q      Doe defendants (speclfyDQe nutnber#1j-3a                                     are jaersdnswhose capacities•ars uriknosNn to
                            plaintiffi
         '7,     Q• Defendants who are Joined underCode ofCivif'Procedure section 382 are-(names):

                                                                        ..              .•                             , "
                 This court is the proper court b'ecaiuse                        ....                                                                       "
         8.                                                                                       .                   .ti ..
                  a,     at least one defendant now resitles in its jurisdictional area.
                  b. Q   the principaP pface nfbusinessofa defendarrt corporatiorl or unincorporated association is in its juri$dictional area.
                       ✓ injury to person or damage to.personal property occurred in -fts jurisdictional area.
                 'c. 'Q,
                                                                                                                                                        "
                   d. C7 o.ther'(specitjr):



          9:           PlaintifP is required to comply with a claims statute, and
    "              a. Q has complied with. applicabte dlaims statutes, or                                                       "
                   b. [Q Is excused from' complying because (specify):



         PI..aP1-001.[RaY,Janumyt,2arri                      COMPLAIN'i';--Personal lnjury, Propertji                                            Ate3a .i "
0                                                                                                                           "
                                             "                    Damage, Wrongjfi.ri Death


                                                                                                                                             Exhibit A
                                                                                                                                              Page 5
             Case 2:22-cv-04084-MCS-PD Document 1 Filed
                                                     • .. 06/14/22 Page 7 of 10 Page
                                                                                 ''  ID #:7                                                              ..
1



                                                                                                                                                  PL'D-PI-001




    .     101. The fioliowing-causes o₹ action•are attached and'the-statements'abnverapply'to each (each compra7ntinusthave one o(more
               causes of action attachea):                                                        "
        ~      a.        Motor Vshicie                                                                      :
               b. ~. General Negiigence
               a         Intentional Tort
               d.        Products Liability
               e: Q      Premises L9ability „
               f.        Qther (specify):




             11. Plaintaffhastuffiered
                 'a: Q     wage loss                                                                                           '
                 '.b:. jQ_ loss of use of property
                  c. 0: hospital and rnedical expenses                                              "
                  d: Q     generai damage
                  e.        propertydamage
                 1, 0      loss of eaming capacity                                                                                                          "
                   g. Q    other d'amage (Specffy)=




             12.         The damages-claimed'for vvrortgfc+l death and the• relafionships of plaintifP'ta the deceased are •'
         „          a.      listed in Attachment 12.                                                                 „
                            as foitovirs:'.




             13.. The ieiief sought in`fhis •complaint is withln the• juri3tlictPon ofthis cou>t.
                    Coriipensatory money'damages. accord.ing to proof.

             14. Plaintiff prays fo'r judgfnent for cosfi's of'suii; for such reGef as•Is fajr. just and equitabie; ar+d for
                 a, (•1')       compensatory damages
                     •(2)•      punitive damages
                      The amqunt of damages is (In cases fW"persorial fnjurp or wrongful`deatfr,..you fi'rusf check (i)J:
                     (1) C] ✓ • according to proof
                   •• (2} =     in the •amount of: $                                                                                                    "

             15-.        The paragrraphs jof this complaint aileged on infomiaUon• and beiief are as follaws (specffy paragraph numbers):



              Date: March 9, 20n                                                    "
              S eri.cer Gue~eria::.
                                       ([YPE OR PRINT NAME)                                               ISIqNA7URE OE f lAR•ITIFF OR p1TTORNk() •

             PLa•PI•oot[Rev.Januaryt,2oM                      COMPL4INT—Personallnju , roperty                                                          pagn3of 3 .
                                                                  Damage,'Vi(.rongfuE fleath


                                                                                                                                                      Exhibit A
                                                                                                                                                       Page 6
Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 8 of 10 Page ID #:8




                                                                                                   CASEry,i1MBEFR:
SHORT TITLE;
Wo1bert v:Sprouts Farmers 11rlarket                                               "
                                                                                                          ..                   ..

        Fzrst .                                  CAtJSE OF' AC°T1C1N=Gerieral Megligence                                     Page        4...
                        .(number)
        ATTACHNIENT TO                     Corripiainfi             Cross -'Cnmplaint
        .(l'lse a separafe cayse ofaetion forrrr for ePch cause of action.}                                                     "
                    ..            ..              ••                  ..                                             ..
        GN-1. PJaintiff (name)' I.,inden V►Tolbert                                "

                    a1►eges 3ha!•defendant [naine);• Sprouts Farmers Market; Retail .Oppqrtuftity investtnents Corp:


                                   fl   Does I                      to 30
                    wasthe le.gal (pro)irriata) cause of damages{o pJaintiff: By tfae fopowin.g acts.•ar orimissions toact, defendartt
                    negGgent[y caased the damage to ptaintift
                    (in (date): .1VCay 4, 2020                                                                       "
                    at fp►ace): 21821 Ventara Blvd.} Woo'dtand Hi1ls, CA 9•1364
                     (description• o.freasons forliab.ilify):                                                                              "

                     Defendants and t}ieir agents and employees, uttd each of them, ovred to Plaintiff a duty•to
                     maintain its premises• in a reasonably safe condi,tion. Defendants arid their agen.ts and employees,
                     and each of them, hreached this duty, and -as a dire.ct result; caused Plaintiff to sustairiserious
                     personal injuries. Specifically, Defendauts and theiragents•and employees, and each Qf them,
                     failed to. maintain'a, shopping uart corral •in -their parking lo~, -such that a sharp and twisted piece of
                     metal .protruded frora the surface of the parlCing lot in an unsafe manner, T,b.is legally and
                     proximately eaused Plaintiffs foot •to receive a severe laceration.: .Pla"urtiffcontinues to zeceive "
                     medical care aud treatinent to date. Plaintiff has Iost earnings..as a result of the claimed in;jiiries.




         ..                    •                                             .,         ••          ..                                    P~e2~+
  Farmn~P~~df~•oaua~use
   Judi Counalof•Caiforttia
                                                 Oq.USE•OFACTlO~1—GeneralNegligence                                           cOdeO"~~d~4~~~.
PLO-Pl-0Ot(2) tRev. damtary 1, 2007]                            ,




                                                                                                                                         Exhibit A
                                                                                                                                          Page 7
                 Case 2:22-cv-04084-MCS-PD Document 1 Filed 06/14/22 Page 9 of 10 Page ID #:9



                                                                                    ••                                                                     r~,u-ri~uT
..
                                                                                                                          CASE IVUMeP.ti_
             SHORT TITLE:
                 Wolbert v, 5prouts Farmers Ma.rket•

_                        'Second                                   CAUS.E Ol` AGTIO:N--Piremises Lia.bility                                         Paga       -5
                                         (number).
                         ATl'ACHMENTTO 0'             Compiaint              Cross=CompFaint
                         {Use a separate cause of action fnrm for each c,srise of action.).

                          Prem.L-i. piairitiifi (naine): I.inderi. Wolbert                                                                                    "
                                          alieges the acLs of.defendants were theiegal (proximatel cause ofidamages to plaintiff:
                                          On (date): May 4, 2020•                           plainti,ffwas injured on#he fioll.owing premises iri the following-
                                          fasFuori (descripfior► of premises and eircumsfances'of fnjury):
                                          PlaintiffLindenWolbert ws.s lawf'ally on the premises o£Defendants; and each'ofthezn.                                                 :
                                          Plaintiff had finished shoppuzg £or food at the $tore of Defendant Sprouts Fa.rmers Market: She
                                          parked lier empty shopping eart iix a shopping cart coFral witlun the parking lot on the ..
             "                            pz'emises, which• wer•e-ovAied, maintained, ansi controlled by Defet>;dants, and each.of thet;n.
                                          Defendants failed to maintailn their premises sueh that a sharp.*and twistted piece of rlaetal ..
                                          protriided from the shopping cairt eorral, causing, Piamtiff to reeeive a• severe Iacera.tion.
                          Prem.L=2:          0          Count One—Negligence The defendants~who negligenfly awned, maintained, managed and -
                                                        operated,the. described premises weTe (names):
                                                        Sprauts Farmers Market, LLC, Itetail Opportvnity In.vestrrients Corp:;Inc.
                                                                              ...                        .. .       ..
                  ..
                                                        0          L.
                                                            Does ~~~        .    to 10'
                           Pre►ri:L-3.                  dount Two—Wilifui Failureto 1Narn [Glvil Code se~on 8461 The defendant owners who vitdifuliy
     "                                                  or maliciausly faited to guarEl or wam against a danger.ous condition, use, strvcture, :or activity were
                                                        Pames):



                                                        0'    Does .                 " to
                                                        Piain#iff, 'a recreationat user•, was r7 an invited gtiest a payfng guest.
                           Prem.L-4.                    CountThrQe—Dangerous'Condl#!on of Pubtic ProperlyThe defendantswho owned-publicpropeity
                                                        on Which a, dangerous cortdition. Pacisted were (names):


                                                                 j~ Does                       to                     "

                                            a• 0    The defendant pubiic entity had           actual =' constructive riotice. of the'exlstenm .d₹ the
                                                     dangerous candifion in- suffrcient time prior to the injury to have• con•ected if,
                                            b• Q     The condiUon was created byemployees ofthe defendantpubiicentity,
                                                                                                                                   empioXees of the
                           Prem:L-5.• a. QAllega#lorts abQat Other Qefendants The rlefendants who were the agents and
                                            other defendants and acfed within fhe scope of the agency      were  .{names):   ..


                                                        [Q     Does. 11                  to 2~
                                          U.             The defendants who are liable to plaintiffs fior ofher reasons anc#the reaspnsfor their Iiabili.ty are
                                                         0    described in.attaehment Prem.L-5:b              -as fiollows (names):




                       FoR„Aoprovedtorov~~u~                          CAU$E OF ACTIQN--Prerriises Liabiii4`7
                                                                                                           ~,                                        c~e~~uPro ed~.§ax3•10Yz
                     .JudiaWCounr~otCelifam~                                                                                                   ..            www.cqu;Snh,ce.g   .•
         •                                 .
                 PI,A-P1,001(4)•IRQv, Jantratql.2007J



                                                                                                                                                                    Exhibit A
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   1                              PROOF OF SERVICE
                      Wolbert v. Sprouts Farmers Market, LLC, et al.
   2                              Case No. 22STCV08580
   3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   4       At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Los Angeles, State of California. My
  5 business address is 700 North Brand Boulevard, 10th Floor, Glendale, CA 91203-
    1202.
  6
           On June 14, 2022, I served true copies of the following document(s)
  7 described as NOTICE OF REMOVAL on the interested parties in this action as
    follows:
  8
    Spencer Guerena, Esq,
  9 Law Office of Spencer Guerena
    3111 Camino Del Rio North, S0uite 400
 10 San Diego, California 92018
    Tel.: (619) 528-2214
 11 E-mail: spencer@guerenalaw.com
    Attorneys for Plaintiff Linden Wolbert
 12
 13
           BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
 14 the document(s) to be sent from e-mail address bgonzales@bgwlawyers.com to the
    persons at the e-mail addresses listed in the Service List. I did not receive, within a
 15 reasonable time after the transmission, any electronic message or other indication
    that the transmission was unsuccessful.
 16
           I declare under penalty of perjury under the laws of the United States of
 17 America that the foregoing is true and correct and that I am employed in the office
    of a member of the bar of this Court at whose direction the service was made.
 18
           Executed on June 14, 2022, at Glendale, California.
 19
 20
                                                       /s/ Brandi Gonzales
 21                                             Brandi Gonzales
 22
 23
 24
 25
 26
 27
 28

                                       NOTICE OF REMOVAL
